                Case 3:14-cv-08203-NVW Document 6 Filed 02/23/15 Page 1 of 2




 1   Scott E. Davis
     State Bar No. 016160
 2   SCOTT E. DAVIS, P.C.
     8360 E. Raintree Drive, Suite 140
 3   Scottsdale, AZ 85260
 4   Telephone: (602) 482-4300
     Facsimile: (602) 569-9720
 5   email: davis@scottdavispc.com
 6   Attorney for Plaintiff Martha Judd
 7
                                  UNITED STATES DISTRICT COURT
 8
                                          DISTRICT OF ARIZONA
 9
10                                                    Case No. 3:14-cv-08203-NVW
     Martha Judd,
11                                                    NOTICE OF VOLUNTARY
                    Plaintiff,                        DISMISSAL WITH PREJUDICE
12
           v.
13
     Unum Life Insurance Company of America,
14   Summit Healthcare Association, Summit
     Healthcare Association Disability Plan, Summit
15   Healthcare Association Life Insurance Plan,
16                  Defendants.
17
18         Pursuant to FRCP Rule 41(a)(1)(A), Plaintiff hereby dismisses with prejudice this
19   cause of action against Defendants Unum Life Insurance Company of America, Summit
20   Healthcare Association, Summit Healthcare Association Disability Plan and the Summit
21   Healthcare Association Life Insurance Plan.
22         Neither an Answer nor a Motion for Summary Judgment have been filed in this
23   matter.
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     Case 3:14-cv-08203-NVW Document 6 Filed 02/23/15 Page 2 of 2




 1                        DATED this 23rd day of February, 2015.
 2
                                SCOTT E. DAVIS. P.C.
 3
                                By:     /s/ Scott E. Davis
 4                                      Scott E. Davis
                                        Attorney for Plaintiff
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